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EXHIBIT F

ELECTION FORMS

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11]
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

ELECTION FORM FOR HOLDERS OF SENIOR NOTEHOLDER CLAIMS TO ELECT NOT
TO TRANSFER STATE LAW AVOIDANCE CLAIMS TO CREDITORS’ TRUSTS UNDER
EACH OF THE PLANS PROPOSED FOR B MPANY

Four (4) plans of reorganization (the “Plans”) have been proposed for Tribune Company and
certain of its subsidiaries (collectively, the “Debtors’’) in the above-captioned chapter 11 cases. Each Plan
provides, as a default, that Holders of certain Claims will transfer certain State Law Avoidance Claims (as
defined in each Plan) to a Creditors’ Trust. You are receiving this election form (the “Election Form”)
because you hold a Senior Noteholder Claim and are entitled under each Plan to elect not to transfer your
State Law Avoidance Claims to the Creditors’ Trusts (as defined under each Plan, and also referred to as
a “State Law Avoidance Claims Election” for the purpose of this form). Details concerning the transfer
of your State Law Avoidance Claims to the Creditors’ Trusts, and the resulting effect that such transfer
may have on your potential recoveries under a particular Plan, are described in each of the Plans.
Capitalized terms used but not otherwise defined herein have the meanings given to them in the
Solicitation Order or in the applicable Plan(s).

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal (ax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510), Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306), Candle Holdings Corporation (5626); Channel 20, inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844), Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237), Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121), Distribution Systems of America, Inc. (3811), Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219), ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505}, GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company Il, LLC; KIAH Inc, (4014); KPLR, Inc.
(7943), KSWB Inc, (7035); KTLA Inc. (3404), KWGN Inc. (5347), Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Lid. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522), NBBF, LLC (0893),
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553), Newscom Services, Inc. (4817), Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466), North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223), Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027), Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455), Star Community Publishing Group, LLC (5612), Stemweb, Inc. (4276), Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880), The Daily Press, Inc. (9368), The Hartford Courant Company (3490), The Moming Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326), TMLH 2, Inc. (0720); TMLS 1, Inc. (0719), TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470), Tribune Broadcast Holdings, Inc. (4438), Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Burcau Inc. (1088); Tribune California Properties,
Inc. (1629), Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847), Tribune Media Services, Inc. (1080), Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278), Tribune NM, Inc. (9939), Tribune Publishing Company (9720), Tribune Television Company (1634); Tribune
Television Holdings, inc. (1630); Tribune Television New Orleans, Inc. (4055), Tribune Television Northwest, Inc, (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LILC (4025), Virginia Gazette Companies, LLC (9587); WATL, LLC (7384), WCCT, Inc., fk/a WTXX
Inc. (1268), WCWN LLC (5982); WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (Q191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Ulinois 60611.

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Pursuant to the Solicitation Order, your election not to transfer your State Law Avoidance Claims
will be valid only if you have electronically delivered your Senior Notes, as of the Voting Deadline
(January 28, 2011), into the Automated Tender Offer Program at The Depository Trust Company (the
“ATOP System”). Only your Voting Nominee can submit this election on your behalf.

Holders of Senior Noteholder Claims that elect not to transfer their State Law Avoidance Claims
to the Creditors’ Trusts and electronically deliver their Senior Notes into the ATOP System can withdraw
their Senior Notes from the ATOP System up to and until the Voting Deadline. However, following the
Voting Deadline, such Senior Notes will not be freely tradable.

If you have any questions on how to properly complete this Election Form, you may contact the
Voting Agent, Epiq Bankruptcy Solutions, LLC at (888) 287-7568 or tribunevote@epiqsystems.com.

IF YOU DO NOT COMPLETE AND SUBMIT THIS ELECTION FORM, OR IF YOU
OTHERWISE FAIL TO COMPLY WITH THE PROCEDURES FOR MAKING SUCH ELECTION,
YOU WILL HAVE CONSENTED TO THE TRANSFER OF YOUR STATE LAW AVOIDANCE
CLAIMS THAT YOU MAY HAVE TO THE CREDITORS’ TRUSTS ESTABLISHED UNDER EACH
OF THE PLANS.

IF YOU HOLD SENIOR NOTEHOLDER CLAIMS THROUGH MORE THAN ONE VOTING
NOMINEE, YOU MAY RECEIVE MORE THAN ONE ELECTION FORM. TO THE EXTENT YOU
WISH NOT TO TRANSFER YOUR STATE LAW AVOIDANCE CLAIMS TO THE CREDITORS’
TRUSTS UNDER EACH PLAN, YOU SHOULD EXECUTE A SEPARATE ELECTION FORM FOR
EACH BLOCK OF SENIOR NOTEHOLDER CLAIMS THAT YOU HOLD THROUGH ANY
VOTING NOMINEE AND RETURN THE ELECTION FORM TO THE RESPECTIVE VOTING
NOMINEE THAT HOLDS THE SENIOR NOTEHOLDER CLAIMS IN STREET NAME.

This Election Form provides you the opportunity to make separate elections with respect to each
of the Plans. Accordingly, you may elect under none, some, or all of the Plans not to contribute your
State Law Avoidance Claims to the Creditors’ Trusts under the relevant Plans.

ITEM 1A. ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE
CLAIMS UNDER THE DEBTOR/COMMITTEE/LENDER PLAN.

Section 14.3.1 of the Debtor/Committee/Lender Plan provides as a default that Holders of
Senior Noteholder Claims will transfer Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, which is to be established under the Debtor/Committee/Lender Plan. You
have the right to opt out of this transfer under Section 14.3.1 of the Debtor/Committee/Lender
Plan. If you wish to opt out of this transfer, you must check the box below. If you check the
box and thereby elect not to transfer your Disclaimed State Law Avoidance Claims, you will
be “opting out” of contributing all Disclaimed State Law Avoidance Claims you now hold or
may hold in the future, and you will not be entitled to (i) receive Creditors’ Trust Interests or
(ii) share in the proceeds of any recoveries ultimately obtained by the Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust under the Debtor/Committee/Lender
Plan in exchange for Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you
to share in the proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you
do not submit this Election Form, you will be deemed to have transferred all of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the
Debtor/Committee/Lender Plan and, accordingly, will receive Creditors’ Trust Interests
and may be entitled to share in the proceeds of recoveries obtained by the Creditors’
Trust, if any. For additional information regarding the Creditors’ Trust under the
Debtor/Committee/Lender Plan, please see Section 14.3.1 of the Debtor/Committee/Lender
Plan.

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ITEM IB.

ITEM 1C.

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I wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims to the
Creditors’ Trust under the Debtor/Committee/Lender Plan.

NON-CONTRIBUTION OF STATE LAW AVOIDANCE CLAIMS UNDER THE
NOTEHOLDER PLAN.

Section 5.18.2 of the Noteholder Plan provides as a default that Holders of Senior Noteholder
Claims will transfer State Law Avoidance Claims to the Creditors’ Trust, which is to be
established under the Noteholder Plan. You have the right to opt out of this transfer under
Section 5.18.2 of the Noteholder Plan. If you wish to opt out of this transfer, you must check
the box below. If you check the box and thereby elect not to transfer your State Law
Avoidance Claims, you will be “opting out” of contributing all State Law Avoidance Claims
you now hold or may hold in the future, and you will not be entitled to (i) receive Creditors’
Trust Interests or (ii) share in the proceeds of any recoveries ultimately obtained by the
Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your State Law
Avoidance Claims to the Creditors’ Trust under the Noteholder Plan in exchange for
Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to share in the
proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do not submit
this Election Form, you will be deemed to have transferred all of your State Law
Avoidance Claims to the Creditors’ Trust under the Noteholder Plan and, accordingly,
will receive Creditors’ Trust Interests and may be entitled to share in the proceeds of
recoveries obtained by the Creditors’ Trust, if any. For additional information regarding
the Creditors’ Trust under the Noteholder Plan, please see Section 5.18 of the Noteholder
Plan.

1 wish to opt out of the transfer of my State Law Avoidance Claims to the Creditors’
Trust under the Noteholder Plan.

ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE
CLAIMS UNDER THE STEP ONE LENDER PLAN.

Section 14.3.1 of the Step One Lender Plan provides as a default that Holders of Senior
Noteholder Claims will transfer Disclaimed State Law Avoidance Claims to the Creditors’
Trust, which is to be established under the Step One Lender Plan. You have the right to opt
out of this transfer under Section 14.3.1 of the Step One Lender Plan. If you wish to opt out
of this transfer, you must check the box below. If you check the box and thereby elect not to
transfer your Disclaimed State Law Avoidance Claims, you will be “opting out” of
contributing all Disclaimed State Law Avoidance Claims you now hold or may hold in the
future, and you will not be entitled to (i) receive Creditors’ Trust Interests or (ii) share in the
proceeds of any recoveries ultimately obtained by the Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust under the Step One Lender Plan in
exchange for Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to
share in the proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do
not submit this Election Form, you will be deemed to have transferred all of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the Step One
Lender Plan and, accordingly, will receive Creditors’ Trust Interests and may be
entitled to share in the proceeds of recoveries obtained by the Creditors’ Trust, if any.
For additional information regarding the Creditors’ Trust under the Step One Lender Plan,
please see Section 14.3.1 of the Step One Lender Plan.

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Oo I wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims to the
Creditors’ Trust under the Step One Lender Plan.

ITEM tD. NON-CONTRIBUTION OF STATE LAW AVOIDANCE CLAIMS UNDER THE
BRIDGE LENDER PLAN.

Section 5.19.2 of the Bridge Lender Plan provides as a default that Holders of Senior
Noteholder Claims will transfer State Law Avoidance Claims to the Creditors’ Trust, which
is to be established under the Bridge Lender Plan. You have the right to opt out of this
transfer under Section 5.19.2 of the Bridge Lender Plan. If you wish to opt out of this
transfer, you must check the box below. If you check the box and thereby elect not to
transfer your State Law Avoidance Claims, you will be “opting out” of contributing all State
Law Avoidance Claims you now hold or may hold in the future, and you will not be entitled
to (i) receive Creditors’ Trust Interests or (ii) share in the proceeds of any recoveries
ultimately obtained by the Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your State Law
Avoidance Claims to the Creditors’ Trust under the Bridge Lender Plan in exchange for
Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to share in the
proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do not submit
this Election Form, you will be deemed to have transferred all of your State Law
Avoidance Claims to the Creditors’ Trust under the Bridge Lender Plan and,
accordingly, will receive Creditors’ Trust Interests and may be entitled to share in the
proceeds of recoveries obtained by the Creditors’ Trust, if any. For additional
information regarding the Creditors’ Trust under the Bridge Lender Plan, please see Section
5.19 of the Bridge Lender Plan.

O I wish to opt out of the transfer of my State Law Avoidance Claims to the Creditors’
Trust under the Bridge Lender Plan.
ELECTION SUMMARY:

If you have made a State Law Avoidance Claims Election with respect to each of the Plans in
Items 1A through 1D by checking ALL 4 BOXES above, your Nominee will tender your Senior Notes
into the corresponding event on DTC’s ATOP system for the purpose of making ALL of the State Law
Avoidance Claims Elections on all four Plans.

If you have elected to make a State Law Avoidance Claims Election on only one, two, or three
Plans in Items | A through 1D above, your Nominee will tender your Senior Notes into the corresponding
event on DTC’s ATOP system for the purpose of making LESS THAN ALL of the State Law Avoidance
Claims Elections.

If you do not wish to make any State Law Avoidance Claims Election, your broker will not need
to tender your bonds.

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ITEM 2. CERTIFICATION.
By signing this Election Form, the undersigned acknowledges and/or certifies that it:

a. has full power and authority to complete this Election Form with respect to its Senior
Noteholder Claim;

b. instructs its Voting Nominee to effect this Election Form through the ATOP System;
and

c. has received a copy of the General Disclosure Statement, the Plans and the Specific
Disclosure Statements related thereto, the Responsive Statements, and the
Solicitation Order and understands that this Election Form is subject to all the terms
and conditions set forth in the General Disclosure Statement, the Plans and the
Specific Disclosure Statements related thereto, and the Solicitation Order.

Name:

(Print or Type)

Signature:

By:

(If Applicable)

Title:

(if Applicable)

Street Address:

City, State, Zip Code:

Telephone Number:

Email:

Date Completed:

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THE VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON JANUARY 28, 2011.
PLEASE RETURN YOUR ELECTION FORM TO YOUR VOTING NOMINEE IN
SUFFICIENT TIME FOR YOUR VOTING NOMINEE TO PROCESS YOUR
ELECTION FORM AND SUBMIT YOUR ELECTION THROUGH DTC’S ATOP
SYSTEM, SO THAT IT IS ACTUALLY RECEIVED BY THE VOTING AGENT ON
OR BEFORE THE VOTING DEADLINE, OR YOUR ELECTION WILL NOT BE
VALID.

IF YOU HAVE ANY QUESTIONS REGARDING THIS ELECTION FORM OR THE
PROCEDURES FOR MAKING THIS ELECTION, OR IF YOU NEED ADDITIONAL COPIES
OF THE JOINT DISCLOSURE STATEMENT, THE PLANS, OR OTHER ENCLOSED

| MATERIALS, PLEASE CONTACT THE VOTING AGENT AT 888-287-7568 OR

! TRIBUNEVOTE@EPIOSYSTEMS.COM.
DO NOT SEND THIS FORM TO EPIQ SYSTEMS.

YOU MUST PROVIDE YOUR ELECTION INSTRUCTIONS TO YOUR NOMINEE IN
ACCORDANCE WITH THEIR DIRECTIONS.

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,! Case No. 08-13141 (KIC)
Debtors. Jointly Administered

ELECTION FORM FOR HOLDERS OF PHONES NOTES CLAIMS TO ELECT NOT TO
TRANSFER STATE LAW AVOIDANCE CLAIMS TO CREDITORS’ TRUSTS UNDER EACH
OF THE PLANS PROPOSED FOR TRIBUNE COMPANY

Four (4) plans of reorganization (the “Plans”) have been proposed for Tribune Company and
certain of its subsidiaries (collectively, the “Debtors”) in the above-captioned chapter 11 cases. Each Plan
provides, as a default, that Holders of certain Claims will transfer certain State Law Avoidance Claims (as
defined in each Plan) to a Creditors’ Trust. You are receiving this election form (the “Election Form”)
because you hold a PHONES Notes Claim and are entitled under each Plan to elect not to transfer your
State Law Avoidance Claims to the Creditors’ Trusts (as defined under each Plan and also referred to as a
“State Law Avoidance Claims Election” for the purpose of this form). Details concerning the transfer of
your State Law Avoidance Claims to the Creditors’ Trusts, and the resulting effect that such transfer may
have on your potential recoveries under a particular Plan, are described in each of the Plans. Capitalized
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the applicable Plan(s).

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0355), 435 Production Company (8863); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
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Chicagoland Publishing Company (3237); Chicagoland Tetevision News, Inc. (1352), Courant Specialty Products, Inc. (9221); Direct Mail
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(5628); Forum Publishing Group, Inc. (2940), Gold Coast Publications, Inc. ($505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
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(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
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Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
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Inc. (1268); WCWN LLC (5982), WDOCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Ilinois 60611.
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Pursuant to the Solicitation Order, if you are a Holder of a PHONES Notes Claim (other than
PHONES Notes Exchange Claims), your election not to transfer your State Law Avoidance Claims will
be valid only if you have electronically delivered your PHONES Notes, as of the Voting Deadline
(January 28, 2011), into the Automated Tender Offer Program at The Depository Trust Company (the
“ATOP System”). Only your Voting Nominee can submit this election on your behalf.

Holders of PHONES Notes Claims that elect not to transfer their State Law Avoidance Claims to
the Creditors’ Trusts and electronically deliver their PHONES Notes into the ATOP System can withdraw
their PHONES Notes from the ATOP System up to and until the Voting Deadline. However, following
the Voting Deadline, such PHONES Notes will not be freely tradable.

If you are a Holder of a PHONES Notes Exchange Claim, in order for your election to be valid,
you must complete the Election Form and return it to the Voting Agent prior to the Voting Deadline.

If you have any questions on how to properly complete this Election Form, you may contact the
Voting Agent, Epiq Bankruptcy Solutions, LLC at (888) 287-7568 or tribunevote@epiqsystems.com.

IF YOU DO NOT COMPLETE AND SUBMIT THIS ELECTION FORM, OR IF YOU
OTHERWISE FAIL TO COMPLY WITH THE PROCEDURES FOR MAKING SUCH ELECTION,
YOU WILL HAVE CONSENTED TO THE TRANSFER OF ANY STATE LAW AVOIDANCE
CLAIMS THAT YOU MAY HAVE TO THE CREDITORS’ TRUSTS ESTABLISHED UNDER EACH
OF THE PLANS.

IF YOU HOLD PHONES NOTES CLAIMS THROUGH MORE THAN ONE VOTING
NOMINEE, YOU MAY RECEIVE MORE THAN ONE ELECTION FORM. TO THE EXTENT YOU
WISH NOT TO TRANSFER YOUR STATE LAW AVOIDANCE CLAIMS TO THE CREDITORS’
TRUSTS UNDER THE PLANS, YOU SHOULD EXECUTE A SEPARATE ELECTION FORM FOR
EACH BLOCK OF PHONES NOTES CLAIMS THAT YOU HOLD THROUGH ANY VOTING
NOMINEE AND RETURN THE ELECTION FORM TO THE RESPECTIVE VOTING NOMINEE
THAT HOLDS THE PHONES NOTES CLAIMS IN STREET NAME.

This Election Form provides you the opportunity to make separate elections with respect to each
of the Plans. Accordingly, you may elect under none, some, or all of the Plans not to contribute your
State Law Avoidance Claims to the Creditors’ Trusts under the relevant Plans.

ITEM 1A. ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE
CLAIMS UNDER THE DEBTOR/COMMITTEE/LENDER PLAN.

Section 14.3.1 of the Debtor/Committee/Lender Plan provides as a default that Holders of
PHONES Notes Claims will transfer Disclaimed State Law Avoidance Claims to the
Creditors’ Trust, which is to be established under the Debtor/Committee/Lender Plan. You
have the right to opt out of this transfer under Section 14.3.1 of the Debtor/Committee/Lender
Plan. If you wish to opt out of this transfer, you must check the box below. If you check the
box and thereby elect not to transfer your Disclaimed State Law Avoidance Claim, you will
be “opting out” of contributing all Disclaimed State Law Avoidance Claims you now hold or
may hold in the future, and you will not be entitled to (i) receive Creditors’ Trust Interests or
(ii) share in the proceeds of any recoveries ultimately obtained by the Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust under the Debtor/Committee/Lender
Plan in exchange for Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you
to share in the proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you
do not submit this Election Form, you will be deemed to have transferred all of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the
Debtor/Committee/Lender Plan and, accordingly, will receive Creditors’ Trust Interests
ITEM 1B.

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ITEM IC.

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and may be entitled to share in the proceeds of recoveries obtained by the Creditors’
Trust, if any. For additional information regarding the Creditors’ Trust under the
Debtor/Committee/Lender Plan, please see Section 14.3.1 of the Debtor/Committee/Lender
Plan.

{ wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims to the
Creditors’ Trust under the Debtor/Committee/Lender Plan.

NON-CONTRIBUTION OF STATE LAW AVOIDANCE CLAIMS UNDER THE
NOTEHOLDER PLAN.

Section 5.18.2 of the Noteholder Plan provides as a default that Holders of PHONES Notes
Claims will transfer State Law Avoidance Claims to the Creditors’ Trust, which is to be
established under the Noteholder Plan. You have the right to opt out of this transfer under
Section 5.18.2 of the Noteholder Plan. If you wish to opt out of this transfer, you must check
the box below. If you check the box and thereby not to transfer your State Law Avoidance
Claims, you will be “opting out” of contributing all State Law Avoidance Claims you now
hold or may hold in the future, and you will not be entitled to (i) receive Creditors’ Trust
Interests or (ii) share in the proceeds of any recoveries ultimately obtained by the Creditors’
Trust,

If you do not check the box below, you are consenting to the transfer of your State Law
Avoidance Claims to the Creditors’ Trust under the Noteholder Plan in exchange for
Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to share in the
proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do not submit
this Election Form, you will be deemed to have transferred all of your State Law
Avoidance Claims to the Creditors’ Trust under the Noteholder Plan and, accordingly,
will receive Creditors’ Trust Interests and may be entitled to share in the proceeds of
recoveries obtained by the Creditors’ Trust, if any. For additional information regarding
the Creditors’ Trust under the Noteholder Plan, please see Section 5.18 of the Noteholder
Plan.

I wish to opt out of the transfer of my State Law Avoidance Claims to the Creditors’
Trust under the Noteholder Plan.

ELECTION NOT TO TRANSFER DISCLAIMED STATE LAW AVOIDANCE
CLAIMS UNDER THE STEP ONE LENDER PLAN.

Section 14.3.1 of the Step One Lender Plan provides as a default that Holders of PHONES
Notes Claims will transfer Disclaimed State Law Avoidance Claims to the Creditors’ Trust,
which is to be established under the Step One Lender Plan. You have the right to opt out of
this transfer under Section 14.3.1 of the Step One Lender Plan. If you wish to opt out of this
transfer, you must check the box below. If you check the box and thereby not to transfer your
Disclaimed State Law Avoidance Claims, you will be “opting out” of contributing all
Disclaimed State Law Avoidance Claims you now hold or may hold in the future, and you
will not be entitled to (i) receive Creditors’ Trust Interests or (ii) share in the proceeds of any
recoveries ultimately obtained by the Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your Disclaimed
State Law Avoidance Claims to the Creditors’ Trust under the Step One Lender Plan in
exchange for Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to
share in the proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do
not submit this Election Form, you will be deemed to have transferred all of your
Disclaimed State Law Avoidance Claims to the Creditors’ Trust under the Step One
Lender Plan and, accordingly, will receive Creditors’ Trust Interests and may be
ITEM 1D.

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entitled to share im the proceeds of recoveries obtained by the Creditors’ Trust, if any.
For additional information regarding the Creditors’ Trust under the Step One Lender Plan,
please see Section 14.3.1 of the Step One Lender Plan.

I wish to opt out of the transfer of my Disclaimed State Law Avoidance Claims to the
Creditors’ Trust under the Step One Lender Plan.

NON-CONTRIBUTION OF STATE LAW AVOIDANCE CLAIMS UNDER THE
BRIDGE LENDER PLAN.

Section 5.19.2 of the Bridge Lender Plan provides as a default that Holders of PHONES
Notes Claims will transfer State Law Avoidance Claims to the Creditors’ Trust, which is to
be established under the Bridge Lender Plan. You have the right to opt out of this transfer
under Section 5.19.2 of the Bridge Lender Plan. If you wish to opt out of this transfer, you
must check the box below. If you check the box and thereby not to transfer your State Law
Avoidance Claims, you will be “opting out” of contributing all State Law Avoidance Claims
you now hold or may hold in the future, and you will not be entitled to (i) receive Creditors’
Trust Interests or (ii) share in the proceeds of any recoveries ultimately obtained by the
Creditors’ Trust.

If you do not check the box below, you are consenting to the transfer of your State Law
Avoidance Claims to the Creditors’ Trust under the Bridge Lender Plan in exchange for
Creditors’ Trust Interests. The Creditors’ Trust Interests may entitle you to share in the
proceeds of any recovery ultimately obtained by the Creditors’ Trust. If you do not submit
this Election Form, you will be deemed to have transferred all of your State Law
Avoidance Claims to the Creditors’ Trust under the Bridge Lender Plan and,
accordingly, will receive Creditors’ Trust Interests and may be entitled to share in the
proceeds of recoveries obtained by the Creditors’ Trust, if any. For additional
information regarding the Creditors’ Trust under the Bridge Lender Plan, please see Section
5.19 of the Bridge Lender Plan.

I wish to opt out of the transfer of my State Law Avoidance Claims to the Creditors’
Trust under the Bridge Lender Plan.

ELECTION SUMMARY:
A. PHONES Notes Claims

If you have made a State Law Avoidance Claims Election with respect to each of the Plans in
Items 1A through 1D by checking ALL 4 BOXES above, your Nominee will tender your PHONES Notes
into the corresponding event on DTC’s ATOP system for the purpose of making ALL of the State Law

Avoidance

Claims Elections on all four Plans.

If you have elected to make a State Law Avoidance Claims Election on only one, two, or three
Plans in Items 1A through 1D above, your Nominee will tender your PHONES Notes into the
corresponding event on DTC’s ATOP system for the purpose of making LESS THAN ALL of the State
Law Avoidance Claims Elections.

If you do not wish to make any State Law Avoidance Claims Election, your Nominee will not
need to tender your PHONES Notes Claims.

B. PHONES Notes Exchange Claims

If you have made a State Law Avoidance Claims Election with respect to each of the Plans in
Items 1A through 1D, no further steps need to be taken other than returning your Election Form to the
Voting Agent prior to the Voting Deadline.

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ITEM 2. CERTIFICATION,
By signing this Election Form, the undersigned acknowledges and/or certifies that it:

a. has full power and authority to complete this Election Form with respect to its
PHONES Notes Claim or PHONES Notes Exchange Claims, as applicable;

b. is a Holder of a PHONES Notes Claim or PHONES Notes Exchange Claims, and if
applicable, instructs its Voting Nominee to effect this Election Form through the
ATOP System; and

c. has received a copy of the Genera! Disclosure Statement, the Plans and the Specific
Disclosure Statements related thereto, the Responsive Statements, and the
Solicitation Order and understands that this Election Form is subject to all the terms
and conditions set forth in the General Disclosure Statement, the Plans and the
Specific Disclosure Statements related thereto, and the Solicitation Order,

Name:

(Print or Type)

Signature:

By:

(if Applicable)

Title:
(If Applicable)

Street Address:

City, State, Zip Code:

Telephone Number:

Email:

Date Completed:

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THE VOTING DEADLINE IS 4:00 P.M. EASTERN TIME ON JANUARY 28, 2011.

IF YOU ARE A HOLDER OF PHONES NOTES CLAIMS, PLEASE RETURN
YOUR ELECTION FORM TO YOUR VOTING NOMINEE IN SUFFICIENT
TIME FOR YOUR VOTING NOMINEE TO PROCESS YOUR ELECTION
FORM THROUGH DTC’S ATOP SYSTEM SO THAT IT IS ACTUALLY
RECEIVED BY THE VOTING AGENT ON OR BEFORE THE VOTING
DEADLINE, OR YOUR ELECTION WILL NOT BE VALID. YOU MUST
PROVIDE YOUR ELECTION INSTRUCTIONS TO YOUR NOMINEE IN
ACCORDANCE WITH THEIR DIRECTIONS.

IF YOU ARE A HOLDER OF PHONES NOTES EXCHANGE CLAIMS,
PLEASE RETURN YOUR ELECTION FORM DIRECTLY TO THE VOTING
AGENT SO THAT IT IS ACTUALLY RECEIVED BY THE VOTING AGENT
ON OR BEFORE THE VOTING DEADLINE, OR YOUR ELECTION WILL
NOT BE VALID.

IF YOU HOLD BOTH PHONES NOTES CLAIMS AND PHONES NOTES
EXCHANGE CLAIMS, YOU HAVE RECEIVED SEPARATE ELECTION
FORMS ON WHICH TO ELECT NOT TO TRANSFER YOUR STATE LAW
AVOIDANCE CLAIMS TO THE CREDITORS’ TRUSTS. YOU MUST
RETURN THE ELECTION FORM FOR YOUR PHONES NOTES CLAIM TO
YOUR VOTING NOMINEE, AND YOU MUST RETURN THE ELECTION
FORM FOR YOUR PHONES NOTES EXCHANGE CLAIM DIRECTLY TO
THE VOTING AGENT.

IF YOU HAVE ANY QUESTIONS REGARDING THIS ELECTION FORM OR THE

PROCEDURES FOR MAKING THIS ELECTION, OR IF YOU NEED ADDITIONAL COPIES
OF THE JOINT DISCLOSURE STATEMENT, THE PLANS, OR OTHER ENCLOSED
MATERIALS, PLEASE CONTACT THE VOTING AGENT AT 888-287-7568 OR

TRIBUNEVOTE@EPIOSYSTEMS.COM.

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

DEBTOR/COMMITTEE/LENDER PLAN ELECTION FORM FOR HOLDERS OF
CONVENIENCE CLAIMS TO ELECT NOT TO GRANT RELEASES PROVIDED IN
DEBTOR/COMMITTEE/LENDER PLAN (AS DEFINED IN THE JOINT DISCLOSURE

STATEMENT FOR TRIBUNE COMPANY AND ITS SUBSIDIARIES)

This Debtor/Committee/Lender Plan Election Form is for electing not to grant the releases
provided in Section 11.2.2 of the First Amended Joint Plan of Reorganization for Tribune Company and
Its Subsidiaries Proposed by the Debtors, the Official Committee of Unsecured Creditors, Oaktree Capital
Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank, N.A. (the
“Debtor/Committee/Lender Plan”). Capitalized terms used but not defined in this
Debtor/Committee/Lender Plan Election Form have the meanings given to them in (i) the Instructions for
Completing the Debtor/Committee/Lender Plan Ballot to Accept or Reject the Debtor/Committee/Lender
Plan or (ii) the Debtor/Committee/Lender Plan, as applicable.

The Debtors in these chapter | 1 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0355), 435 Production Company (8865); 5800 Sunset Productions Inc. (5516); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434): Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc, (3167), ChicagoLand Microwave Licensee, Inc. (1579).
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121), Distribution Systems of America, Inc. (381 1); Eagle New Media Investments, LIC (6661); Eagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628), Forum Publishing Group, Inc. (2940); Gold Coast Publ ications, Inc. (5505), GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company 1, LLC: KLAH Ine. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035): KTLA Inc. (3404); KWGN Inc. (5347), Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208), New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenuc Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775), Patuxent Publishing Company (4223), Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455), Star Community Publishing Group, LIC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490), The Morning Call, Inc. (7560); The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470), Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534), Tribune Broadcasting News Network, Inc., wk/a Tribune Washington Bureau inc. (1088), Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, fa Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522), Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LLC (4025), Virginia Gazette Companies, LLC (9587), WATL, LLC (7384), WCCT, Inc., ffk/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc, (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Ulinois 60611.

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Pursuant to the Debtor/Committee/Lender Plan, Allowed Convenience Class Claims are
Unimpaired and Holders of Convenience Class Claims (Class 1G Claims against Tribune Company) are
conclusively deemed to have accepted the Debtor/Committee/Lender Plan. As a result, unless Holders of
Convenience Claims submit this Election Form and elect not to grant the releases set forth in Section
11.2.2 of the Debtor/Committee/Lender Plan, the Holders of Convenience Claims will be deemed to have
granted such releases. This Debtor/Committee/Lender Plan Election Form is only to be used by Holders
of Convenience Claims to elect not to grant the releases set forth in Section 11.2.2 of the
Debtor/Committee/Lender Plan.

To elect not to grant the releases set forth in Section 11.2.2 of the Debtor/Committee/Lender
Plan, please check the following box:

ITEM I. RELEASES

[1 The undersigned elects not to grant the releases contained in Section 1 1.2.2 of the
Debtor/Committee/Lender Plan.

Section 11.2.2 of the Debtor/Committee/Lender Plan provides that each Person who votes to
accept the Debtor/Committee/Lender Plan and does not affirmatively elect to opt out of such releases, or
who otherwise agrees to provide the releases set forth in Section 11.2.2, shall be deemed to have
unconditionally released each and all of the Released Parties (as such term is defined in the
Debtor/Committee/Lender Plan) of and from any and all claims, obligations, suits, judgments, damages,
debts, rights, remedies, causes of action and liabilities of any nature whatsoever (including, without
limitation, the LBO-Related Causes of Action (as such term is defined in the Debtor/Committee/Lender
Plan) and those arising under the Bankruptcy Code, including any avoidance claim), whether known or
unknown, foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter
arising, in law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission,
transaction, event or other occurrence taking place or existing on or before the Effective Date that are in
connection with the Debtors or any of them, or their respective assets, property and Estates, the Chapter
11 Cases or the Plan, Disclosure Statement or the Restructuring Transactions (as such term is defined in
the Debtor/Committee/Lender Plan); except as otherwise set forth in the Debtor/Committee/Lender Plan.

If you do not return this Debtor/Committee/Lender Plan Election Form, you will be deemed have granted
such releases. Election to grant such releases is at your option. If you submit this Election Form and
do not grant the releases contained in Section 11.2.2 of the Debtor/Committee/Lender Plan,
however, you shall not receive the benefit of the releases set forth in Section 11.2.2 of the
Debtor/Committee/Lender Plan,

ITEM 2. CERTIFICATION. By signing this Debtor/Committee/Lender Plan Election Form,
undersigned certifies and acknowledges that it:

a. is the Holder of the Convenience Claims against Tribune Company to which this
Debtor/Committee/Lender Plan Election Form pertains or is an authorized signatory
and has full power and authority to make the election called for on this
Debtor/Committee/Lender Plan Election Form; and

b. has been provided with a copy of the Debtor/Committee/Lender Plan, the General
Disclosure Statement, the Specific Disclosure Statement for the
Debtor/Committee/Lender Plan, the Responsive Statements, and the Solicitation
Order and acknowledges that the election set forth on this Debtor/Committee/Lender
Plan Election Form is subject to all of the terms and conditions set forth in the
Debtor/Committee/Lender Plan, the General Disclosure Statement, the Specific
Disclosure Statement for the Debtor/Committee/Lender Plan, and the Solicitation
Order.

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Name:

(Print or Type)

Signature:

By:

(If Applicable)

Title:

(If Applicable)

Street Address:

City, State, Zip Code:

Telephone Number:

Email:

Date Completed:

YOUR DEBTOR/COMMITTEE/LENDER PLAN ELECTION FORM MUST BE
ACTUALLY RECEIVED BY THE VOTING AGENT ON OR BEFORE 4:00 P.M.
EASTERN TIME ON THE VOTING DEADLINE (JANUARY 28, 2011) OR YOUR
ELECTION NOT TO GRANT THE RELEASES SET FORTH IN THE
DEBTOR/COMMITTEE/LENDER PLAN WILL NOT BE VALID.
DEBTOR/COMMITTEE/LENDER PLAN ELECTION FORMS SUBMITTED BY
FACSIMILE OR OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED,
AND YOUR ELECTION WILL NOT BE VALID.

IF YOU HAVE ANY QUESTIONS REGARDING THIS DEBTOR/COMMITTEE/LENDER
PLAN ELECTION FORM, PLEASE CONTACT THE VOTING AGENT AT 888-287-7568 OR

AT TRIBUNEVOTE@EPIOSYSTEMS.COM.

PLEASE RETURN YOUR DEBTOR/COMMITTEE/LENDER PLAN ELECTION FORM BY
PERSONAL DELIVERY, OVERNIGHT COURIER, OR FIRST CLASS MAIL TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS:

If By Mail:

Tribune Company Ballot Processing Center
c/o Epiq Bankruptcy Solutions, LLC

FDR Station, P.O. Box 5014

New York, NY 10150-5014

If By Personal Delivery or Overnight Courier:
Tribune Company Ballot Processing Center

c/o Epiq Bankruptcy Solutions

757 Third Avenue, Third Floor

New York, NY 10017

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

STEP ONE LENDER PLAN ELECTION FORM FOR HOLDERS OF CONVENIENCE
CLAIMS TO ELECT NOT TO GRANT RELEASES PROVIDED IN STEP ONE
LENDER PLAN (AS DEFINED IN THE JOINT DISCLOSURE STATEMENT FOR
TRIBUNE COMPANY AND ITS SUBSIDIARIES)

This Step One Lender Plan Election Form is for electing not to grant the releases provided in
Section 11.3.2 of the First Amended Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by Certain Holders of Step One Senior Loan Claims (the “Step One Lender Plan”). Capitalized
terms used but not defined in this Step One Lender Plan Election Form have the meanings given to them
in (i) the Instructions for Completing the Step One Lender Plan Ballot to Accept or Reject the Step One
Lender Plan or (ii) the Step One Lender Plan, as applicable.

Pursuant to the Step One Lender Plan, Allowed Convenience Class Claims are Unimpaired and
Holders of Convenience Class Claims (Class 1G Claims against Tribune Company) are conclusively

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510), Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306), Candle Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39, Inc. (5256), Channel 40, inc.
(3844); Chicago Avenue Construction Company (8634), Chicago River Production Company (5434), Chicago Tribune Company (3437),
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167), Chicagoland Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352), Courant Specialty Products, Inc, (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LIC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc, (5505), GreenCo, Inc. (7416), Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903), Hoy, LLC (8033); Hoy Publications, LLC (2352), insertCo, Inc.
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company UJ, LLC, KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347), Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079), Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893),
Neocomm, Inc. (7208), New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc, (7335), North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598), Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750), Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490), The Morning Call, Inc. (7560); The Other Company LLC (3337),
Times Mirroe Land and Timber Company (7088), Times Mirror Payroll Processing Company, Inc. (4227), Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720), TMLS I, Inc. (0719), TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066), Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569), Tribune Broadcasting
Holdco, LLC (2534), Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, {/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479), Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393), Tribune Finance, LLC (2537), Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035), Tribune Los Angeles, Inc, (4522), Tribune Manhattan Newspaper Holdings, Inc. (7279),
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936), Tribune New York
Newspaper Holdings, LIC (7278), Tribune NM, Inc. (9939), Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975), ValuMail, Inc.
(9512). Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384); WCCT, Inc., fvk/a WTXX
Inc. (1268); WCWN LLC (5982), WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530), WLVI Inc. (8074); and
WPIX, Inc. (0191), The Debtors’ corporate hcadquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Hlinois 60611.

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deemed to have accepted the Step One Lender Plan. As a result, unless Holders of Convenience Claims
submit this Election Form and elect not to grant the releases set forth in Section 11.3.2 of the Step One
Lender Plan, the Holders of Convenience Claims will be deemed to have granted such releases. This Step
One Lender Plan Election Form is only to be used by Holders of Convenience Claims to elect not to grant
the releases set forth in Section 11.3.2 of the Step One Lender Plan.

To elect not to grant the releases set forth in Section 11.3.2 of the Step One Lender Plan,
please check the following box:

ITEM 1. RELEASES

“| The undersigned elects not to grant the releases contained in Section | 1.3.2 of the Step One
Lender Plan.

Section 11.3.2 of the Step One Lender Plan provides that each Person who votes to accept the
Step One Lender Plan and does not affirmatively elect to opt out of such releases, or who otherwise
agrees to provide the releases set forth in Section 11.3.2, shall be deemed to have unconditionally released
each and all of the current and former Holders of Step One Senior Loan Claims and Step One Senior
Loan Guaranty Claims of and from any and all claims, obligations, suits, judgments, damages, debts,
rights, remedies, causes of action and liabilities of any nature whatsoever (including, without limitation,
the Step One LBO-Related Causes of Action (as such term is defined in the Step One Lender Plan) and
those arising under the Bankruptcy Code, including any avoidance claim), whether known or unknown,
foreseen or unforeseen, liquidated or unliquidated, matured or unmatured, existing or hereafter arising, in
law, equity, or otherwise, that are or may be based in whole or in part upon any act, omission, transaction,
event or other occurrence taking place or existing on or before the Effective Date that are in connection
with the Debtors or any of them, or their respective assets, property and Estates, the Chapter | 1 Cases or
the Plan, Disclosure Statement or the Restructuring Transactions (as such terms are defined in the Step
One Lender Plan); except as otherwise set forth in the Step One Lender Plan.

If you do not return this Step One Lender Plan Election Form, you will be deemed have granted such
releases. Election to grant such releases is at your option. If you submit this Election Form and do not
grant the releases contained in Section 11.3.2 of the Step One Lender Plan, however, you shall not
receive the benefit of the releases set forth in Section 11.3.2 of the Step One Lender Plan.

ITEM 2. CERTIFICATION. By signing this Step One Lender Plan Election Form, undersigned
certifies and acknowledges that it:

a. is the Holder of the Convenience Claims against Tribune Company to which this Step
One Lender Plan Election Form pertains or is an authorized signatory and has full
power and authority to make the election called for on this Step One Lender Plan
Election Form; and

b. has been provided with a copy of the Step One Lender Plan, the General Disclosure
Statement, the Specific Disclosure Statement for the Step One Lender Plan, the
Responsive Statements, and the Solicitation Order and acknowledges that the election
set forth on this Step One Lender Plan Election Form is subject to all of the terms and
conditions set forth in the Step One Lender Plan, the General Disclosure Statement,
the Specific Disclosure Statement for the Step One Lender Plan, and the Solicitation
Order.

Name:

(Print or Type)

Signature:

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By:

(If Applicable)

Title:

(If Applicable)

Street Address:

City, State, Zip Code:

Telephone Number:

Email:

Date Completed:

YOUR STEP ONE LENDER PLAN ELECTION FORM MUST BE ACTUALLY
RECEIVED BY THE VOTING AGENT ON OR BEFORE 4:00 P.M. EASTERN TIME
ON THE VOTING DEADLINE (JANUARY 28, 2011) OR YOUR ELECTION NOT TO
GRANT THE RELEASES SET FORTH IN THE STEP ONE LENDER PLAN WILL
NOT BE VALID. STEP ONE LENDER PLAN ELECTION FORMS SUBMITTED BY
FACSIMILE OR OTHER ELECTRONIC SUBMISSION WILL NOT BE COUNTED,
AND YOUR ELECTION WILL NOT BE VALID.

IF YOU HAVE ANY QUESTIONS REGARDING THIS STEP ONE LENDER PLAN ELECTION
FORM PLEASE CONTACT THE VOTING AGENT AT 888-287-7568 OR AT

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New York, NY 10150-5014 New York, NY 10017

